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                          FOR PUBLICATION

           UNITED STATES COURT OF APPEALS
                FOR THE NINTH CIRCUIT


         VIRGINIA DUNCAN; RICHARD LEWIS;            No. 19-55376
         PATRICK LOVETTE; DAVID
         MARGUGLIO; CHRISTOPHER                        D.C. No.
         WADDELL; CALIFORNIA RIFLE &                3:17-cv-01017-
         PISTOL ASSOCIATION, INC., a                   BEN-JLB
         California corporation,
                          Plaintiffs-Appellees,
                                                       ORDER
                           v.

         ROB BONTA, in his official capacity
         as Attorney General of the State of
         California,

                         Defendant-Appellant.


            On Remand from the United States Supreme Court

                         Filed September 23, 2022

          Before: Mary H. Murguia, Chief Judge, and Sidney R.
          Thomas, Susan P. Graber, Richard A. Paez, Marsha S.
           Berzon, Sandra S. Ikuta, Paul J. Watford, Andrew D.
            Hurwitz, Ryan D. Nelson, Patrick J. Bumatay and
                   Lawrence VanDyke, Circuit Judges.

                                   Order
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                                   SUMMARY *


                       Civil Rights/Second Amendment

            Following the Supreme Court’s order vacating this
        court’s judgment, Duncan v. Bonta, 142 S. Ct. 2895 (2022),
        the en banc court remanded this case to the to the district
        court for further proceedings consistent with New York State
        Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. ____, 142 S. Ct.
        2111 (2022).

           Judge Bumatay and Judge VanDyke dissented from the
        order remanding this case to the district court.


                                    COUNSEL

        Samuel P. Siegel and Helen H. Hong, Deputy Solicitors
        General; John D. Echeverria, Deputy Attorney General; P.
        Patty Li, Supervising Deputy Attorney General; Thomas S.
        Patterson, Senior Assistant Attorney General; Michael J.
        Mongan, Solicitor General; Rob Bonta, Attorney General;
        Office of the Attorney General, Sacramento, California; for
        Defendant-Appellant.

        Erin E. Murphy, Paul D. Clement, and Nicholas M.
        Gallagher, Clement & Murphy PLLC, Alexandria, Virginia;
        Kasdin M. Mitchell and William K. Lane III, Kirkland &
        Ellis LLP, Washington, D.C.; C.D. Michel, Anna M. Barvir,



                 *
                   This summary constitutes no part of the opinion of the court.
        It has been prepared by court staff for the convenience of the reader.
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        and Sean A. Brady, Michel & Associates P.C., Long Beach,
        California; for Plaintiffs-Appellees.

        Jonathan E. Lowy and T. Tanya Schardt, Brady,
        Washington, D.C.; Rafael Reyneri, Scott D. Danzis, Thomas
        C. Villalon, and Nora Conneely, Covington & Burling LLP,
        Washington, D.C.; for Amicus Curiae Brady.

        Scott A. Edelman, Gibson Dunn & Crutcher LLP, Los
        Angeles, California; Vivek R. Gopalan, Matthew C. Reagan,
        and Zhen He Tan, Gibson Dunn & Crutcher LLP, San
        Francisco, California; Hannah Shearer and Hannah
        Friedman, Giffords Law Center to Prevent Gun Violence,
        San Francisco, California; J. Adam Skaggs, Giffords Law
        Center to Prevent Gun Violence, New York, New York; for
        Amici Curiae Giffords Law Center to Prevent Gun Violence
        and March for Our Lives Action Fund.

        Antonio J. Perez-Marques and Antonio M. Haynes, David
        Polk & Wardwell LLP, New York, New York; Eric
        Tirschwell, Mark Anthony Frassetto, Janet Carter, and
        William J. Taylor Jr., Everytown Law, New York, New
        York; for Amicus Curiae Everytown for Gun Safety.

        Christa Y. Nicols, Brady, Washington, D.C., for Amicus
        Curiae Team ENOUGH.

        Jonathan K. Baum, Katten Muchin Rosenman LLP,
        Chicago, Illinois; Mark T. Ciani, Katten Muchin Rosenman
        LLP, New York, New York; for Amici Curiae California
        Chapter of the American College of Emergency Physicians,
        American Academy of Pediatrics California, and California
        Academy of Family Physicians.
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        Karl A. Racine, Attorney General; Loren L. Alikhan,
        Solicitor General; Caroline S. Van Zile, Principal Deputy
        Solicitor General; Carl J. Schifferle, Deputy Solicitor
        General; Sonya L. Lebsack, Assistant Attorney General;
        Office of the Solicitor General, Washington, D.C.; William
        Tong, Attorney General, Hartford, Connecticut; Kathleen
        Jennings, Attorney General, Wilmington, Delaware; Clare
        E. Connors, Attorney General, Honolulu, Hawaii; Kwame
        Raoul, Attorney General, Chicago, Illinois; Brian E. Frosh,
        Attorney General, Baltimore, Maryland; Maura Healey,
        Attorney General, Boston, Massachusetts; Dana Nessel,
        Attorney General, Lansing, Michigan; Keith Ellison,
        Attorney General, St. Paul, Minnesota; Gurbir S. Grewal,
        Attorney General, Trenton, New Jersey; Hector Balderas,
        Attorney General, Santa Fe, New Mexico; Letitia James,
        Attorney General, New York, New York; Ellen F.
        Rosenblum, Attorney General, Salem, Oregon; Josh
        Shapiro, Attorney General, Harrisburg, Pennsylvania; Peter
        F. Neronha, Attorney General, Providence, Rhode Island;
        Thomas J. Donovan Jr., Attorney General, Montpelier,
        Vermont; Mark R. Herring, Attorney General, Richmond,
        Virginia; Robert W. Ferguson, Attorney General, Olympia,
        Washington; for Amici Curiae District of Columbia,
        Connecticut, Delaware, Hawaii, Illinois, Maryland,
        Massachusetts, Michigan, Minnesota, New Jersey, New
        Mexico, New York, Oregon, Pennsylvania, Rhode Island,
        Vermont, Virginia, and Washington.

        Michael N. Feuer, City Attorney; Kathleen Kenealy, Chief
        Assistant City Attorney; Scott Marcus, Senior Assistant City
        Attorney; Danielle L. Goldstein, James P. Clark, and Blithe
        Smith Bock, Deputy City Attorneys; Office of the City
        Attorney, Los Angeles, California; Dennis J. Herrera, City
        Attorney, Office of the City Attorney, San Francisco,
        California; Barbara J. Parker, City Attorney, Office of the
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                            DUNCAN V. BONTA                      5

        City Attorney, Oakland, California; Mara W. Elliott, City
        Attorney; Jonathan I. Lapin, Chief Deputy City Attorney;
        Office of the City Attorney, San Diego, California; Yibin
        Shen, City Attorney; Michael Roush, Chief Assistant City
        Attorney; Montague Hung, Deputy City Attorney; Office of
        the City Attorney, Alameda, California; Scott H. Howard,
        City Attorney, Pasadena, California; George S. Cardona,
        Interim City Attorney, Santa Monica, California; John A.
        Nagel, City Attorney; Rebecca L. Moon, Senior Assistant
        City Attorney; Office of the City Attorney, Sunnyvale,
        California; Michael Jenkins, City Attorney, Best Best &
        Krieger LLP, Manhattan Beach, California; for Amici
        Curiae City of Los Angeles, City and County of San
        Francisco, City of San Diego, City of Oakland, City of West
        Hollywood and Mayor Lindsey P. Horvath, City of
        Alameda, City of Calabasas, City of Santa Monica, and City
        of Sunnyvale.

        James E. Hough, Jamie A. Levitt, and Cesar A. Francia,
        Morrison & Foerster LLP, New York, New York; Daniel A.
        Goldschmidt, Morrison & Foerster LLP, Chiyoda-ku,
        Tokyo, Japan; James R. Sigel, Morrison & Foerster LLP,
        San Francisco, California; Samuel B. Goldstein, Morrison &
        Foerster LLP, Washington, D.C.; for Amici Curiae Pride
        Fund to End Gun Violence, Equality California, and Gays
        Against Guns.

        Stephen P. Halbrook, Fairfax, Virginia; Nezida S. Davis,
        Bakari Law LLC, Decatur, Georgia; for Amici Curiae
        National African American Gun Association Inc. and Pink
        Pistols.

        Jeremiah L. Morgan, Robert J. Olson, William J. Olson, and
        Herbert W. Titus, William J. Olson P.C., Vienna, Virginia;
        Joseph W. Miller, Joseph Miller Law Offices LLC,
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        Fairbanks, Alaska; Steven C. Bailey and Gary G. Kreep,
        Ramona, California; John Harris, Nashville, Tennessee; for
        Amici Curiae Gun Owners of America, Inc.; Gun Owners
        Foundation; Gun Owners of California; California
        Constitutional Rights Foundation; Virginia Citizens Defense
        League; Montana Shooting Sports Association; Oregon
        Firearms Federation; Tennessee Firearms Association;
        Conservation Legal Defense and Education Fund; Policy
        Analysis Center; Heller Foundation; Restoring Liberty
        Action Committee; Oregon Firearms Federation; Grass
        Roots North Carolina; Rights Watch International;
        America’s Future, Inc.; Downsize DC Foundation; and
        DownsizeDC.org.

        John Parker Sweeney, James W. Porter III, Marc A.
        Nardone, and Candice L. Rucker, Bradley Arant Boult
        Cummings, Washington, D.C., for Amicus Curiae National
        Rifle Association of America Inc.

        Dan M. Peterson, Dan M. Peterson PLLC, Fairfax, Virginia,
        for Amici Curiae National Association of Chiefs of Police,
        Western States Sheriffs’ Association, California Reserve
        Peace Officers Association, San Francisco Veteran Police
        Officers Association, International Law Enforcement
        Educators and Trainers Association, Law Enforcement
        Legal Defense Fund, California State Sheriffs’ Association,
        New Mexico Sheriffs’ Association, Association of New
        Jersey Rifle & Pistol Clubs Inc., Bridgeville Rifle & Pistol
        Club, Connecticut Citizens Defense League, Delaware State
        Sportsmen’s Association, Gun Owners’ Action League
        Massachusetts, Gun Owners of California, Maryland State
        Rifle & Pistol Association, New York State Rifle & Pistol
        Association, Vermont Federation of Sportsmen’s Clubs,
        Vermont State Rifle & Pistol Association, and Virginia
        Shooting Sports Association.
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        Joseph G.S. Greenlee, Firearms Policy Coalition,
        Sacramento, California; George M. Lee, Seiler Epstein LLP,
        San Francisco, California; for Amici Curiae William Wiese,
        Jeremiah Morris, Lance Cowley, Sherman Macaston,
        Clifford Flores, L.Q. Dang, Frank Federau, Alan Normandy,
        Todd Nielsen, California Gun Rights Foundation, Firearms
        Policy Coalition, Firearms Policy Foundation, Armed
        Equality, San Diego County Gun Owners, Orange County
        Gun Owners, Riverside County Gun Owners, California
        County Gun Owners, and Second Amendment Foundation.

        Donald E. J. Kilmer Jr., Law Offices of Donald Kilmer APC,
        San Jose, California, for Amicus Curiae Madison Society
        Foundation Inc.

        John Cutonilli, Garrett Park, Maryland, pro se Amicus
        Curiae.

        Patrick S. Loi and Anthony P. Schoenberg, Farella Braun &
        Martel LLP, San Francisco, California, for Amicus Curiae
        Americans Against Gun Violence.

        Marek Suchenek Ph.D., Long Beach, California, pro se
        Amicus Curiae.

        Mark Brnovich, Attorney General; Joseph A. Kanefield,
        Chief Deputy & Chief of Staff; Brunn W. Roysden III,
        Solicitor General; Michael S. Catlett, Deputy Solicitor
        General; Office of the Attorney General, Phoenix, Arizona;
        Jeff Landry, Attorney General; Elizabeth B. Murrill,
        Solicitor General; Josiah Kollmeyer, Assistant Solicitor
        General; Department of Justice, Baton Rouge, Louisiana;
        Steve Marshall, Attorney General, State of Alabama; Treg
        Taylor, Attorney General, State of Alaska; Leslie Rutledge,
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        Attorney General, State of Arkansas; Christopher M. Carr,
        Attorney General, State of Georgia; Lawrence G. Wasden,
        Attorney General, State of Idaho; Theodore E. Rokita,
        Attorney General, State of Indiana; Derek Schmidt, Attorney
        General, State of Kansas; Daniel Cameron, Attorney
        General, Commonwealth of Kentucky; Lynn Fitch, Attorney
        General, State of Mississippi; Eric S. Schmitt, Attorney
        General, State of Missouri; Austin Knudsen, Attorney
        General, State of Montana; Douglas J. Peterson, Attorney
        General, State of Nebraska; Dave Yost, Attorney General,
        State of Ohio; Mike Hunter, Attorney General, State of
        Oklahoma; Alan Wilson, Attorney General, State of South
        Carolina; Jason R. Ravnsborg, Attorney General, State of
        South Dakota; Ken Paxton, Attorney General, State of
        Texas; Sean D. Reyes, Attorney General, State of Utah;
        Patrick Morrissey, Attorney General, State of West Virginia;
        Bridget Hill, Attorney General, State of Wyoming; for
        Amici Curiae States of Arizona, Louisiana, Alabama,
        Alaska, Arkansas, Georgia, Idaho, Indiana, Kansas,
        Mississippi, Missouri, Montana, Nebraska, Ohio,
        Oklahoma, South Carolina, South Dakota, Texas, Utah,
        West Virginia, Wyoming, and Commonwealth of Kentucky.

        Craig A. Livingston and Crystal L. Van Der Putten,
        Livingston Law Firm P.C., Walnut Creek, California;
        Lawrence G. Keane and Benjamin F. Erwin, National
        Shooting Sports Foundation Inc., Newtown, Connecticut;
        for Amicus Curiae National Shooting Sports Foundation Inc.
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                             DUNCAN V. BONTA                        9

                                  ORDER

            The judgment in this case is vacated, Duncan v. Bonta,
        142 S. Ct. 2895 (2022), and this case is remanded to the
        district court for further proceedings consistent with New
        York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597 U.S. ____,
        142 S. Ct. 2111 (2022).

           Judge Bumatay and Judge VanDyke dissent from the
        order remanding this case to the district court.

           The parties shall bear their own attorney’s fees, costs,
        and expenses. This order constitutes the mandate of this
        court.

           VACATED and REMANDED.
